           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                             1:07cr33

UNITED STATES OF AMERICA                            )
                                                    )
Vs.                                                 )             ORDER
                                                    )
JOHN WILSON PATTON.                                 )
__________________________________ )

        THIS MATTER is before the court on review of defendant’s Motion for

Psychiatric Examination. By Order of the district court, see docket entries # 211 &

#231, upon a finding under 18, United States Code, Section 4241(a), that there was

reasonable cause to believe that defendant may presently be suffering from a mental

disease or defect that may render defendant unable to understand the nature and

consequences of the proceedings, the court ordered that a mental evaluation be

conducted by the Attorney General. In obedience to that Order, as amended, Tracy

W. Johns, Warden, Federal Correctional Institution, at Butner, caused to be conducted

a psychiatric evaluation consistent with 18, United States Code, Sections 4241(b)

and 4242, and Rule 12.2, Federal Rules of Criminal Procedure. As a result of such

study, qualified mental health evaluators determined that plaintiff was not suffering

from a mental disease or defect, was able to understand the nature of the offense

against him, and was able to assist counsel in his own defense. Further, the




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evaluators opined that at the time of the offense, defendant was able to understand

and appreciate the nature and quality or wrongfulness of his criminal acts.

      At the competency hearing upon defendant’s return to this district, counsel for

defendant argued that the study was flawed inasmuch as it did not take into account

records documenting defendant’s mental health history. Upon inquiry, the court

determined that those documents had not been provided to the mental health facility.

The court will, therefore, remand defendant to the custody of the Attorney General

for purposes of conducting a follow up or supplemental study that takes into account

all medical and mental health records that counsel for defendant provides to such

facility. It shall be the duty of counsel for defendant to promptly retrieve such

documents and provide those materials to the appropriate authorities at Butner.



                                     ORDER

      IT IS, THEREFORE, ORDERED that:

      (1)   THE DEFENDANT shall be examined by at least one qualified

            psychiatrist or psychologist pursuant to 18, United States Code, Section

            4241(b) and Rule 12.2, Federal Rules of Criminal Procedure, to

            determine if the defendant, JOHN WILSON PATTON, is presently

            insane or otherwise so mentally incompetent as to be unable to

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        understand the criminal proceedings against him or to properly assist in

        his defense taking into consideration all documents concerning

        defendant’s mental health history, which shall be provided by

        counsel for defendant.



  (2)   THE DEFENDANT, JOHN WILSON PATTON, shall be examined to

        determine whether at the time of the commission of the alleged offense

        JOHN WILSON PATTON was criminally responsible pursuant to 18,

        United States Code, Section 4242, taking into consideration all

        documents concerning defendant’s mental health history, which

        shall be provided by counsel for defendant.



  (3)   FOR PURPOSES OF EXAMINATION pursuant to Section 4241(b),

        defendant is committed to the custody and care of the Attorney General

        for placement in a suitable facility, and the examination shall be for such

        a reasonable time, not to exceed forty-five (45) days, as is necessary to

        make evaluations as to whether JOHN WILSON PATTON:




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        (A)   is presently insane or otherwise so mentally incompetent as

              to be unable to understand the proceedings against him or

              to properly assist in his own defense; and

        (B)   was, at the time of the commission of the alleged offense,

              criminally responsible. 18 U.S.C. § Sections 4241(b) and 4247(b)

              and (c).

        For purposes of determining the forty-five (45) day period, the

        examination is deemed to commence on the day defendant is admitted

        to the mental health facility.



  (4)   THE WARDEN OR THE CASE MANAGER of the designated

        facility is instructed that requests for extension of the 45-day

        examination period must be in a writing mailed to the Clerk of this

        court, with copies sent to defense counsel, the United States Attorney,

        and the United States Marshal.



  (5)   THE PSYCHIATRIST OR PSYCHOLOGIST, as designated by the

        Attorney General to examine defendant, shall prepare a psychiatric or




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        psychological report pursuant to the requirements of 18, United States

        Code, Section 4247(c).



  (6)   THE PSYCHIATRIST OR PSYCHOLOGIST, as designated by the

        Attorney General, shall forward the original report to this court, a copy

        to the Clerk of this court, a copy to counsel for JOHN WILSON

        PATTON, and a copy to the United States Attorney.



  (7)   THE UNITED STATES MARSHAL, shall transport defendant JOHN

        WILSON PATTON to the mental health institution, which shall be

        designated by the Attorney General, and return defendant JOHN

        WILSON PATTON immediately upon completion of the examination

        to the Western District of North Carolina where bond, if any, may

        resume. The United States Marshal is permitted a total of 10 days

        within which to transport JOHN WILSON PATTON to and from

        the mental health institution. If bond has not been allowed, the

        defendant shall remain in the custody of the United States Marshal.




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  (8)   THE UNITED STATES MARSHAL shall provide defendant with

        medications, if any, as prescribed by a licensed physician pending and

        during transportation to the mental health institution designated by the

        Attorney General.



  (9)   COUNSEL FOR DEFENDANT is instructed that in the event

        psychiatrists or psychologists employed by the government determine

        that defendant is competent to stand trial, counsel for defendant may

        promptly, thereafter, file a motion for appointment and examination by

        independent experts. Such a motion must be accompanied by an

        affidavit of counsel describing the "pronounced irrational behavior" of

        defendant such attorney has observed, Pate v. Robinson, 383 U.S. 375,

        385-86 (1966), averring and documenting that defendant has not been

        able to "consult with his lawyer with a reasonable degree of rational

        understanding," and showing that it is counsel's belief that defendant

        does not have a "rational as well as factual understanding of the

        proceedings against him." Penry v. Lynaugh, 492 U.S. 302, 333 (1989).

        The filing of such a motion will not be cause for continuance from a trial




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             calendar and motions which are not filed in good faith may result in the

             imposition of sanctions.



      (10) In the event mental health professionals at the designated federal facility

             determine that defendant is presently insane or not competent to stand

             trial and that defendant was not criminally responsible at the time of the

             alleged offense, the PSYCHIATRIST OR PSYCHOLOGIST at the

             designated facility shall conduct such further tests as may be appropriate

             to determine whether defendant’s release into the community would

             create a substantial risk of bodily injury to another person or serious

             damage of property of another due to a present mental disease or defect.

             18 U.S.C. Sect. 4243(e). The results of such testing and the conclusions

             drawn therefrom should be appended to and sent along with the

             psychological report.



      THE CLERK OF COURT is directed to certify copies of this Order to

counsel for defendant, the United States Attorney, the United States Marshal, and the

designated mental health facility also in the care of the United States Marshal.




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                                Signed: August 22, 2008




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